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                    UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION

 TANISHA VAUGHN,                                 )      CIVIL COMPLAINT
                                                 )
        Plaintiff,                               )      CASE NO. 2:19-CV-773
                                                 )
 v.                                              )      JUDGE GEORGE C. SMITH
                                                 )
 ALLIANT CAPITAL MANAGMENT                       )      MAG. JUDGE CHELSEY M.
 LLC c/b/a ACM LLC,                              )      VASCURA
                                                 )
      Defendant.                                 )      JURY DEMAND


               NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO
                FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)
       Plaintiff hereby gives notice that the above-captioned case is voluntarily

dismissed without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

Plaintiff further hereby gives notice that, in the absence of a withdrawal of this notice or

a refiling of this case, the dismissal without prejudice shall automatically convert to a

dismissal with prejudice on July 31, 2019.

Dated: May 29, 2019

                                              By: s/ Geoffrey Parker

                                              Geoffrey Parker (0096049)
                                              HILTON PARKER LLC
                                              10400 Blacklick-Eastern Rd NW, Ste. 110
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                              CERTIFICATE OF SERVICE

       I, Geoffrey Parker, Esq., do hereby certify that on this 29th day of May, 2019, I
caused a true and correct copy of the above papers to be served by electronic mail on
the party listed below.

                                                        By: s/ Geoffrey Parker

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